                                      Case 20-21341-SMG                            Doc 2           Filed 10/17/20                     Page 1 of 5




       Fill in this information to identify the case
       Debtor name 'Steven Feller PE PL
       United States Bankruptcy Court for the:                   SOUTHERN DISTRICT OF                                                                   0 Check if this is an
                                                                 FLORIDA
       Case number (if known):                                                                                                                               amended filing




      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
      Are Not Insiders                                                                            12/16

     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
     debtor disputes. Do not Include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
     include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
     among the holders of the 20 largest unsecured claims.

      Name of creditor and      Name, telephone number Nature of claim                        Indicate If claim   Amount of claim
      complete mailing address, and email address of   (for example, trade                     Is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
      Including zip code        creditor contact       debts, bank loans,                     unliquldated, or    claim Is partially secured, fill in total claim amount and deduction for
                                                       professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                       and government                                             Total claim, If            Deduction for value        Unsecured claim
                                                       contracts)                                                 partially secured          of collateral or setoff
     1010 Brickell Condo                                                                     Disputed                                                                                     50.00
     Assoc

     1100 Millecento                                                                         Disputed                                                                                    $0.001
     c/o Gabriel Coelho,
     Phillip Joseph
     Evan Small of Ball
     Janik
     100 SE 2nd Street,
     Suite 3310
     Miami, FL 33131
     2020 Ponce Condo                                                                       Disputed                                                                                     $0.00
     Assoc

     2700 N. Ocean                                                                          Disputed                                                                                     $0.00

     321 Ocean Condo                                                                        Disputed                                                                                     30.00

     3316 Tower Condo                                                                       Disputed                                                                                     $0.00
    Assoc
    c/o FRANCHESCO
    SOTO, ESQ.
    HABER LAW, PA
    261 NW 23RD
    STREET
    Miami, FL 33127
    3401 Midtown                                                                           Disputed                                                                                      $0.00
    Condo
    100 SE 2nd Street,
    Suite 3310
    Miami, FL 33131
    4260 Biscayne Blvd                                                                     Disputed                                                                                    $0.00
    aka Baltus House
l
    5300 Paseo Condo              I
    Assoc                         I                                                                                                                                                  $0.00




Official form 204
                                                   Chapter 11 or Chapter 9 Cases: List of Creditors JAM Have the 20 Largest Unsecured claims                                  page 1
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                                                                                                                                                                 Best Case Bank.ruptcy
                                       Case 20-21341-SMG                             Doc 2           Filed 10/17/20                   Page 2 of 5




                                                                                                                        Casa number (if known)
          Mks        Steven Feller PE PL
                    Name

                                   Name, telephone number Nature of claim                        Indicate If claim Amount of claim
         Name of creditor and                                                                     Is contingent.     If the claim Is fully unsecured, fill in only unsecured claim amount. If
         complete malting address, and email address of   (for example, trade
                                                          debts, bank loans,                     unfiquidated, or claim is partially seaArad, fill in total claim amount and deduction for
         including alp code        creditor contact
                                                          professional services,                    disputed         value of collateral or setoff to calculate unsecured claim.
                                                                                                                     Total claim, If            Deduction for value Unsecured claim
                                                                                                                    partially secured          of collateral or setoff
                                                                                                                                                                                         $0.017f
         Adagio on the Bay
        !Condo
                                                                                                Disputed                                                                               $0.01
        Andre
        Dlamentopoulos
       cdo Jason Block, Jill
       Nexon Berman, Esq
       Rennert Vogel
       Mendler &
       Rodriguez
       100 SE Second St,
      Ste 2900
      Miami FL 33131
      Beach Club                                                                                                                                                                     90.00
      (Tumberry)
     do Sheryl Kass of
     Beach Club
     Acquisitio
     19960 West Country
     Club Dr, 10th ff
     Miami, FL 33180
     Beaohwalk(at                                                                                                                                                                   $0.00
     Hallandale) Condo
    Assn
    do Spencer Sax,
    Esq.
    Sax Sachs Caplan
    6111 Broken Sound
    Parkway NW, Suite
    200
    Boca Raton, FL
    33487
   Beazley
   8 Concourse                                                                                                                                                                    $0.00
   Parkway, Suite 2800
   Atlanta, GA 30328
   Berkeley Shore, LLC
                                                                                                                                                                                  $ 0. 00
   Biscayne Beach
   Condo                                                                                                                                                                          $0.00
       Danin Gursky,
   Esq.
  Gursky Ragan PA

 i14 NE 1st Avenue,
  ffyite 703
 L        FL 33132




Official form 204
                                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
                                                                                                                    Largest Unsecured claims
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                                                                                                                                                            Best Cue BankluPleY
                                   Case 20-21341-SMG                                   Doc 2       Filed 10/17/20                     Page 3 of 5




Debtor      Steven Feller PE PL                                                                                     Case number (if known)
            Name

Name of creditor and               Name, telephone number             Nature of claim          Indicate If claim   Amount of claim
complete mailing address,          and email address of               (for example, trade       Is contingent,     If the daini Is fully unsecured, fill i1 only unsecured daim amount. If
Including zip code                 creditor contact                   debts, bank loans,       unliquidated, or    claim Is partially secured, fill In total deem amount and deduction for
                                                                      professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                   Total claim, If            Deduction for value        Unsecured claim
                                                                                                                   partially secured          of collateral or setoff
Bricks!! Heights                                                                                                                                                                          $0.00
c/o Christopher
Barber, Esq
Tripp Scott
110 SE 6th Street,
Suite 1600
Fort Lauderdale, FL
33301                                                                                                                                                                                             _
Brickell Heights                                                                                                                                                                          $0.00
Condo Assn
c/o Christopher
Barber, Esq
Tripp Scott
110 SE 6th Street,
Suite 1500
Fort Lauderdale, FL
33301
Derrevere Stevens                                                     Legal Services                                                                                           $87,269.37
Black Cozad
Attorneys at Law
2005 Vista Parkway,
Ste 210
West Palm Beach,
 FL 33411
Steven Feller                                                                                                                                                                  $76,000.00
 600 NE 3rd Ave
 Fort Lauderdale, FL
 33301




Official form 200                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                  page 3

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                                                                                                                                                                                                      I
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                                                             United States Bankruptcy Court
                                                                   Southern District of Florida
  In re     Steven Feller PE PL                                                                                    Case No.
                                                                                   Debtor(s)                       Chapter         11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of Security Class Number of Securities                                                  Kind of Interest
 business of holder

 Louise Feller                                                                                                                1%



 Steven Feller                                                                                                                99%
 600 NE 3rd Ave
 Fort Lauderdale, FL 33301


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I. the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my informationitnd belief.




 Date      October 9, 2020                                                  Signature


                       PcnaInfor ~bag a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       Ig U.S.C. §§ 152 and 3571.




Sheet I of I in List of Equity Security Holders                                                                                                     Boil Case Ilartiouvic•I
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                               Case 20-21341-SMG                              Doc 2              Filed 10/17/20             Page 5 of 5




    Debtor name           Steven Feller PE PL

    United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

   Case number (if known)
                                                                                                                                     ❑ Check if this is an
                                                                                                                                       amended filing



  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15


  An Individual who Is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
  form for the schedules of assets and liabilities, any other document that requires a declaration that Is not Included In the document, and any
  amendments of those documents. This form must State the Individual's position or relationship to the debtor, the Identity of the document,
  and the date. Bankruptcy Rules 1008 and 9011.

  WARNING — Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
  connection with a bankruptcy case can result In fines up to $600,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
  1519, and 3671.



                       Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          Individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                       Schedule A43: Assets-Real and Personal Property (Official Form 206A113)
         13• 0000000




                       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                       Schedule En': Creditors Who Have Unsecured Claims (Official Form 206E/F)
                       Schedule G: Executory Contracts end Unexpired Leases (Official Form 206G)
                       Schedule H: Codebtors (Official Form 206H)
                       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                       Amended Schedule
                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                       Other document that requires a declaration

         I declare under penalty of perjury that the foregoing is tru                correct:-

          Executed on          October 9, 2020                      X
                                                                        ,Bie n tyre of Individual signing on behalf of debtor

                                                                        Steven Feller
                                                                        Printed name


                                                                        Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-individual Debtors

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